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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 1:16-cv-21575-FAM

   ALEXANDRE DACCACHE, on
   behalf of himself and all others
   similarly situated,

                 Plaintiffs,

   v.

   RAYMOND JAMES FINANCIAL, INC., et al.,

               Defendants.
   ____________________________________________/




              MOTION TO DISMISS THE AMENDED COMPLAINT AND
             SUPPORTING MEMORANDUM OF LAW OF DEFENDANTS
        PEOPLE’S UNITED FINANCIAL, INC. AND PEOPLE’S UNITED BANK, N.A.
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           Defendants People’s United Financial, Inc. (“PUFI”) and People’s United Bank, N.A.

   (“PUB,” and, together with PUFI, “People’s”) hereby respectfully request that this Court dismiss

   with prejudice Plaintiffs’ Amended Complaint (“AC”) as against People’s: (a) pursuant to Fed.

   R. Civ. P. 12(b)(2), for lack of personal jurisdiction, (b) pursuant to 12(b)(1) for lack of subject

   matter jurisdiction; and (c) pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon

   which relief can be granted.1

                                        PRELIMINARY STATEMENT

           In amending their complaint, plaintiffs have added PUFI and PUB as defendants, but

   allege little of substance about them, and have not even attempted to allege that they were part of

   the alleged RICO enterprise that engaged in a supposed Ponzi scheme that is at the core of this

   case. Similarly, plaintiffs do not, because they cannot, allege that People’s ever even met

   Quiros, the supposed mastermind behind the alleged conspiracy. Indeed, there is very little

   alleged at all in the 92-page Amended Complaint that is specific to People’s – and what is

   specifically alleged establishes that People’s did nothing more than fulfill its contractual

   obligations as plaintiffs’ escrow agent under the parties’ agreements.

           However, the Court need not even address the inadequacy of plaintiffs’ pleading, because

   neither PUFI or PUB is subject to the personal jurisdiction of this Court. Neither PUFI nor PUB

   are licensed to or do business in Florida, and all allegations of their conduct occurred, if at all, in

   Vermont. Thus, Florida’s long-arm statute does not provide a basis for personal jurisdiction, and

   in any event, any such exercise of personal jurisdiction would violate People’s fundamental and

   constitutional due process rights in light of the absence of any substantive contacts with Florida.


   1
            Also submitted in support of People’s motion are the Affidavits of Kevin Cocchiola, Jr. (“Cocchiloa Aff.”)
   and Kevin W. Smith (“Smith Aff.”). People’s hereby incorporates and adopts the motions and arguments of the
   other defendants to dismiss this action pursuant to Rule 12(b)(6), to the extent applicable. To avoid duplication,
   People’s will not repeat those arguments herein.
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          While this Court does not have personal jurisdiction over PUFI or PUB, plaintiffs also

   have failed to plead any plausible claim against them. People’s only alleged involvement was

   acting as escrow agent for the investors’ initial deposits in the limited partnerships, as to which

   plaintiffs admit that all prerequisites for the release of the funds occurred, that the funds

   “automatically” became the property of the limited partnerships, and that People’s released the

   funds to the general partner. Thus, whether denominated as a breach of contract claim, or

   plaintiffs’ efforts to recast that contract claim into miscellaneous claims for “negligence,”

   “breach of fiduciary duty,” “aiding and abetting” fraud and breach of fiduciary duty, and “civil

   conspiracy,” plaintiffs fail to state a cause of action against PUFI and PUB, and all of their

   claims should be dismissed with prejudice.

          In addition, almost all of plaintiffs’ claims are barred by the statute of limitations and lack

   of standing. Most of the alleged transfers of funds occurred more than six years prior to the

   assertion of claims against People’s, and thus claims based upon them are time barred. Plaintiffs

   also have alleged transfers of funds of partnerships in which they did not invest, as to which

   plaintiffs have no standing to assert claims based upon such transfers. The only other allegedly

   improper transfer by People’s involved a partnership in which only one plaintiff invested, and

   that was for $49,000, below the jurisdictional minimum of this Court, and thus that claim too

   must be dismissed.

          Furthermore, plaintiffs’ tort claims seeking economic damages are barred by the

   economic loss rule; their aiding and abetting claims are barred for failure to allege the required

   elements of “actual knowledge,” “substantial assistance,” or personal benefit received by

   People’s from the alleged fraud or breach of fiduciary duty; and their conspiracy claim fails to

   allege any facts regarding People’s supposed participation in any such “conspiracy” to engage in

   fraud and other unspecified misconduct.
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                                                        FACTS

   I.      THE PARTIES

           Plaintiffs allege that they are citizens of foreign countries who, beginning in July 2008,

   each invested approximately $500,000 in five of the eight limited partnerships related to the Jay

   Peak Vermont developments. (AC ¶¶ 9-17.) PUFI is a Delaware corporation with its principal

   place of business in Connecticut. (Cocchiola Aff. ¶ 2.) PUB is a national banking association,

   with its principal place of business in Connecticut, and which is wholly owned by PUFI. (Id. ¶

   4.) PUB provides consumer and commercial banking services through branches located in the

   Northeast. (Id. ¶ 5.) 2 Neither PUFI nor PUB is registered to do or does business in Florida,

   neither has any office, branch, mailing address, ATMs, or telephone number in Florida, and

   neither engages in any advertising in or directed to Florida. (Id. ¶¶ 3, 6.) Defendant Stenger, the

   President and CEO of Jay Peak, Inc. and the principal of the corporate general partners of the

   limited partnerships defined by plaintiffs as “Phase I – VII,” is alleged to be “a citizen of the

   State of Vermont.” (AC ¶¶ 22, 28, 30, 32, 34, 36, 38.)

   II.     THE ESCROW AGREEMENTS

           PUB, through its Burlington, Vermont office, entered into escrow agreements with

   various investors in the Vermont limited partnerships at issue in this action. (AC ¶¶ 9-17.)

   While the specific language of the escrow agreements changed slightly over time, they each

   provide that the escrow agreements “shall be governed by and construed in accordance with the

   laws of the State of Vermont, United States of America.” (See, e.g., Exhibit A hereto, ¶ 9.)



   2
            In January 2008, PUFI acquired Chittenden Corporation, a multi-bank holding company, which owned
   Chittenden Trust Company (“CTC”). (AC ¶ 19.) CTC became a direct subsidiary of PUB, and in January 2009,
   CTC and PUB merged. (AC ¶ 20.) Thus, contrary to plaintiffs’ conclusory allegation, PUFI is not and never was
   the “successor-in-interest to Chittenden Trust Company.” Rather, PUB is the successor in interest to CTC, and
   People’s refers herein to the correct entity that served as escrow agent, PUB, in discussing the alleged conduct.

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   Similarly, the escrow agreements provide that their purpose was for PUB to “hold … deposit

   monies received from Investors, to reserve a place in the Project while conducting due

   diligence.” (Id. ¶ B.) The escrow agreements make clear that PUB’s obligations were strictly

   limited to those set forth in the agreements, providing that PUB as “Escrow Agent agrees with

   the Investor to hold the Escrow Funds in an account … and disburse the Escrow Funds as set

   forth herein,” and that the “Escrow Agent, acting in such capacity, shall have no duties or

   responsibilities except for those expressly set forth herein.” (Id. ¶¶ 1, 6(a).)3 The agreements

   further provide that “[a]fter the expiration of the Due Diligence Period, unless refunded pursuant

   to the notice set forth … above, the Minimum Deposit is strictly non-refundable and will

   automatically be released by the Escrow Agent to the Limited Partnership.” (Id. ¶ 4(a).)

   III.    THE AMENDED COMPLAINT

           On August 9, 2016, plaintiffs filed the AC, alleging that PUB was somehow responsible

   for plaintiffs’ alleged losses due to its role as escrow agent. Plaintiffs do not allege that PUB

   ever improperly distributed escrowed funds prior to the expiration of the due diligence period for

   any plaintiff, or prior to the execution by the plaintiff of the required subscription agreements

   and acceptance of those agreements by the limited partnership. Thus, there is no dispute that the

   escrowed funds became “strictly non-refundable” to the plaintiffs, and were “automatically”

   released to the limited partnership. (Id. ¶ 4(b).) Moreover, plaintiffs allege and admit that PUB

   did in fact distribute the escrowed funds at the direction of the general partner of the relevant

   limited partnership to an account owned by that limited partnership. (AC ¶ 101; see also Id. ¶¶

   67, 73, 74, 81, 83.)


   3
            Plaintiffs repeatedly reference and make allegations about the escrow agreements (see, e.g., AC ¶¶ 99-103),
   and thus the Court can and should consider the escrow agreements on this motion to dismiss without converting the
   motion to one for summary judgment. Drew Estate Holding Co., LLC v. Fantasia Distrib., Inc., 2012 U.S. Dist.
   LEXIS 7910, at *10 (S.D. Fla. Jan. 24, 2012).

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           Nevertheless, plaintiffs purport to allege various causes of action against PUB for: (a)

   aiding and abetting common law fraud (Count III); (b) aiding and abetting breach of fiduciary

   duty (Count VI); (c) civil conspiracy (Count VII); (d) negligence (Count IX); (e) breach of

   fiduciary duty (Count X); and (f) breach of contract (Count XI).4

                                                    ARGUMENT

   I.      THE COURT DOES NOT HAVE PERSONAL JURISDICTION OVER PEOPLE’S

           Pursuant to Fed. R. Civ. P. 4(k)(1)(A), this Court can only exercise personal jurisdiction

   over a defendant “who is subject to the jurisdiction of a court of general jurisdiction in the state

   where the district court is located.” In deciding whether personal jurisdiction exists over non-

   Florida residents such as People’s, this Court must conduct a two-part inquiry: (a) whether the

   defendant is subject to jurisdiction pursuant to the state’s long-arm statute; and (b) whether the

   exercise of personal jurisdiction would be consistent with due process. Sculptchair, Inc. v.

   Century Arts, Ltd., 94 F.3d 623, 626 (11th Cir. 1996). In doing so, it is well-established that

   Florida's long-arm statute is to be strictly construed. Sculptchair, 94 F.3d at 627 (citation

   omitted). In addition, plaintiffs bear the burden of establishing a prima facie case of personal

   jurisdiction over a defendant (Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990)) and where,

   as here, defendants challenging the jurisdiction file “affidavits in support of [their] position,”

   plaintiffs must prove “by affidavit the bases upon which jurisdiction may be obtained.” Venetian

   Salami Co. v. Parthenais, 554 So.2d 499, 502 (Fla. 1989).

           Plaintiffs have not specified any provision of the Florida long-arm statute (Fla Stat. §

   48.193) that they contend allows this Court to exercise personal jurisdiction over PUFI or PUB.



   4
            Plaintiffs also generically allege that PUB “knowingly violated federal banking regulations” (AC ¶ 124),
   but do not allege facts as to how PUB supposedly violated any such regulations, and they do not even attempt to
   assert any claim based upon any such violation.

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   Rather, plaintiffs allege only that People’s (a) “participated in tortious acts committed in Florida,

   or [(b)] caused damage to investors in Florida as alleged herein.” (AC ¶ 47.) However, neither

   of these generic allegations provides a basis for the Court’s exercise of personal jurisdiction.

          Section 48.193(1)(a)(2) only allows for the exercise of personal jurisdiction over a party

   who has “[c]ommitt[ed] a tortious act within this state.” Of course, plaintiffs do not even attempt

   to allege that either PUFI or PUB themselves “committed” any tortious act within the state of

   Florida, and thus that provision does not apply. Indeed, all of the alleged conduct of People’s

   occurred (if at all) at PUB’s Burlington, Vermont branch, acting on instructions of Stenger, a

   Vermont resident, regarding Vermont limited partnerships. (AC ¶ 20; Smith Aff. ¶¶ 3-7.) There

   is simply nothing alleged as to any conduct by People’s in Florida.

          To the extent that plaintiffs are attempting to justify the exercise of personal jurisdiction

   over PUFI and PUB because of their frivolous “conspiracy” allegations, plaintiffs admit that

   neither PUFI nor PUB were part of the alleged RICO conspiracy (AC ¶¶ 316-386), and admit

   that neither of them were involved in the alleged “agreement” to engage in fraud in alleging the

   supposed parties who made such an agreement (id. ¶ 52 (“financial structure devised by

   Raymond James and Burstein”); id. ¶ 54 (“Burstein, Quiros and Amigo made plans”); id. ¶ 56

   (“Quiros, Burstein, and Raymond James were able to put their plan into action”). While deep in

   their complaint (AC ¶ 284) plaintiffs for the first time generically allege that “[a]n agreement

   was made in the first half of 2008 by Quiros with each of Raymond James, Burstein and People’s

   Bank,” that conclusory allegation is directly contrary to their prior allegations (id. ¶¶ 52-56), and

   thus need not be accepted as true on this motion. Wilson v. Henderson, 2005 U.S. Dist. LEXIS

   35505, at *4 (M.D. Fla. July 18, 2005) (courts “need not accept factual claims that are internally

   inconsistent”).



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          More importantly, even though the alleged conspiracy was to commit fraud (id. ¶ 284),

   and thus subject to the specificity requirement of Fed. R. Civ. P. 9(b), plaintiffs’ conspiracy

   claim is devoid of any factual details concerning any such conspiracy to which People’s

   supposedly was a party. Among many deficiencies, plaintiffs have not identified any individual

   from People’s who supposedly made any agreement with Quiros – or who to this day has even

   met him. Similarly, Plaintiffs have not alleged when this fictitious “agreement” occurred, only

   vaguely alleging it supposedly occurred in “the first half of 2008.” Further, plaintiffs also do not

   allege what People’s supposedly agreed to do, again alleging only some vague “agreement” to

   supposedly “commit the fraud and fiduciary breaches described above.” (Id. ¶ 284.) In fact,

   given that the only alleged conduct of which plaintiffs’ complain is PUB’s release of investor

   funds consistent with the terms of the escrow agreements (infra at 9), there simply is no basis for

   plaintiffs’ claim that PUFI or PUB participated in a conspiracy such that it would be subject to

   the jurisdiction of this Court. United Tech. Corp. v. Mazer, 556 F.3d 1260, 1282 (11th Cir. 2009)

   (“there is no allegation directly connecting [defendant] to this initial agreement” and thus

   personal jurisdiction under a “conspiracy” theory fails).

          In addition, plaintiffs have not identified any supposed “tortious act” that any defendant

   committed in Florida. Rather, plaintiffs only allege that certain defendants are residents of

   Florida (AC ¶¶ 18, 21, 23), which is wholly insufficient for the exercise of personal jurisdiction

   over alleged co-conspirators. See, e.g., Sokolowski v. Erbey, 2015 U.S. Dist. LEXIS 180508, at

   *16 (S.D. Fl. 2015) (no personal jurisdiction where plaintiffs have “not identified an act

   committed in Florida by any of the Defendants in furtherance of the principal scheme”).

          Similarly, plaintiffs’ conclusory allegation that People’s supposedly “caused injury

   within the state” (AC ¶ 47) also is completely insufficient under Florida’s long-arm statute.

   Rather, Florida’s long-arm statute only allows for the exercise of jurisdiction over a party
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   “causing injury” within the state if (a) “[t]he defendant was engaged in solicitation or service

   activities within this state;” or (b) “[p]roducts, materials, or things processed, serviced, or

   manufactured by the defendant anywhere were used or consumed within this state in the ordinary

   course of commerce, trade, or use.” (Fla. Stat. § 48.193(6)(a)-(b).) Plaintiffs do not, because

   they cannot, allege that either PUFI or PUB engaged in any such activities in Florida.

          Even assuming arguendo that Florida’s long-arm statute allowed for the exercise of

   personal jurisdiction over PUFI and PUB (which it does not), due process precludes the exercise

   of personal jurisdiction here. There is no allegation, nor could there be, that either PUFI or PUB

   regularly reached into Florida to purposefully avail themselves of the privileges of actively

   pursuing or soliciting business in that state. Rather, like their many other conclusory allegations,

   plaintiffs simply allege that PUFI and PUB supposedly have “sufficient minimum contacts with

   Florida arising from the specific conduct committed in or directed to Florida alleged herein.”

   (AC ¶ 47.) However, plaintiffs fail to identify any such “conduct” in Florida, or how any such

   conduct was supposedly “directed” to Florida.

          The undisputed facts are that neither PUFI nor PUB are licensed to do business in

   Florida, they do not do business in Florida, and they do not maintain any office, address or

   telephone number in Florida. (Cocchiola Aff. ¶¶ 3, 6.) Moreover, with respect to this action,

   any conduct of either PUFI or PUB occurred at PUB’s Burlington, Vermont offices, by PUB’s

   Vermont employees, pursuant to escrow agreements that are governed by Vermont law, relating

   to Vermont limited partnerships, which were formed to, and did, develop properties in Vermont.

   (Smith Aff. ¶¶ 3-7.) There simply is no allegation of anything either PUFI or PUB supposedly

   did in Florida, and thus it cannot be said that either PUFI or PUB did anything to “purposely

   avail” themselves of the privilege of actively pursuing business in Florida.



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          Nor can plaintiffs rely upon their allegation that four of the nine plaintiffs reside in

   Florida, as their residency is wholly irrelevant and cannot justify the exercise of jurisdiction over

   People’s pursuant to the due process requirements of the United States Constitution. As the

   Supreme Court made clear in Walden v. Fiore, 134 S. Ct. 1115 (2014), the appropriate due

   process “analysis looks to the defendant’s contacts with the forum State itself, not the defendant’s

   contacts with persons who reside there’” and not “contacts between the plaintiff (or third parties)

   and the forum State, no matter how substantial.” Walden, 134 S.Ct. at 1122 (emphasis in

   original). See also id. (“it is the defendant, not the plaintiff or third parties, who must create

   contacts with the forum State”); Jet Charter Serv., Inc. v. Koeck, 907 F.2d 1110, 1113 (11th Cir.

   1990) (same).

   II.    ALL OF PLAINTIFFS’ CLAIMS FAIL BECAUSE THEY ARE
          BASED UPON PUB’S TRANSFER OF FUNDS CONSISTENT
          WITH THE TERMS OF THE ESCROW AGREEMENTS

          All of plaintiffs’ claims against People’s are fundamentally based on their allegations

   concerning PUB’s transfers of plaintiffs’ escrowed funds. However, for all of plaintiffs’ efforts

   to characterize PUB’s alleged conduct – plaintiffs do not allege a single transfer of their

   escrowed funds that was inconsistent with the terms of the escrow agreements – not one.

          A.       Plaintiffs Do Not Allege Any Improper Transfer Of Their Escrowed Funds

          The escrow agreements make clear that their purpose was for PUB to “hold … deposit

   monies received from Investors, to reserve a place in the Project while conducting due

   diligence.” (Exhibit A hereto, ¶ B.) The escrow agreements make clear that PUB’s obligations

   were strictly limited to those set forth in the agreements, providing that PUB as “Escrow Agent

   agrees with the Investor to hold the Escrow Funds in an account … and disburse the Escrow

   Funds as set forth herein,” and that “Escrow Agent, acting in such capacity, shall have no duties

   or responsibilities except for those expressly set forth herein.” (Id. ¶¶ 1, 6(a) (emphasis
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   added).) The agreements further provide that “[a]fter the expiration of the Due Diligence Period,

   unless refunded pursuant to the notice set forth … above, the Minimum Deposit is strictly non-

   refundable and will automatically be released by the Escrow Agent to the Limited

   Partnership.” (Id. ¶ 4(a) (emphasis added).)

            Plaintiffs’ allegations establish that PUB fully complied with these requirements and, in

   fact, PUB was required to initiate the transfers about which plaintiffs now complain. Indeed,

   plaintiffs do not allege that PUB ever improperly released any escrow monies to the limited

   partnerships: (a) after any plaintiff requested the return of their initial deposits upon completion

   of their due diligence; (b) before any plaintiff executed and submitted the required subscription

   documents; or (c) before the general partner of the limited partnership accepted the plaintiff’s

   subscription documents. Thus, plaintiffs admit that all of the escrowed funds were “strictly non-

   refundable” to plaintiffs, became the property of the limited partnerships, and that funds

   “automatically” were released to the limited partnerships. See Herbert v. Pico Ski Area Mgmt.

   Co., 908 A.2d 1011 (Vt. 2006) (title to escrow funds passes to party with right to payment upon

   satisfaction of all escrow conditions).5

            Moreover, plaintiffs admit that PUB “released the investor funds held in escrow to a

   Raymond James brokerage account, initially in the name of the EB-5 Project [i.e., the limited

   partnership] that the investor had chosen.” (See, e.g., AC ¶ 104.) Plaintiffs’ desperate effort to

   state some claim against PUB by alleging that transfers to limited partnership accounts at

   Raymond James were somehow improper because it supposedly was not a bank (AC ¶ 106), not

   only are untrue (http://www.raymondjamesbank.com/), they are irrelevant. Plaintiffs admit that


   5
             The escrow agreements are governed by Vermont law which, given that Vermont has a “reasonable
   relation” to the claims (see supra at 3, 6; Smith ¶¶ 3-7), the parties’ agreement as to the governing law will apply.
   Fla. Stat. § 671.105(1) (“[W]hen a transaction bears a reasonable relation to this state and also to another state or
   nation, the parties may agree that the law of either of this state or of such other state or nation will govern their
   rights and duties”).
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   these accounts to which PUB transferred funds were limited partnership accounts in the name of

   the specific EB-5 project, and that the general partner directed the transfers. (AC ¶ 104.) The

   funds “automatically” became the property of the limited partnership, and there is absolutely

   nothing in the escrow agreements – which expressly provides that it sets forth the only

   obligations of PUB as escrow agent – that precluded PUB as escrow agent from transferring

   funds to Raymond James, and plaintiffs have not identified any such provision. In fact, there is

   nothing in the escrow agreements that would even have allowed PUB as escrow agent to refuse

   requests of the general partner to transfer monies to the Raymond James accounts when those

   funds “automatically” became the property of the limited partnerships. Similarly, there is

   nothing in the escrow agreements that imposed upon PUB an obligation to investigate the

   ultimate recipient of funds prior to releasing the limited partnerships’ funds – and plaintiffs have

   not identified any such contractual provision. Thus, all of plaintiffs’ claims against People’s

   must be dismissed because they are based upon PUB’s compliance with its contractual

   obligations.

            B.       The Allegedly Improper Transfers Are Insufficient To State A Claim

            But even if there was anything improper about the challenged transfers (and there was

   not), plaintiffs’ allegations of subsequent transfers of the limited partnerships’ funds (AC ¶ 107)

   are wholly insufficient to state a claim against People’s.6

            1.       Plaintiffs Have Not Alleged Any Improper Transfer From Phases IV - VIII

            None of the allegedly improper transfers of money by PUB relate to Phases IV – VIII.

   (AC ¶ 107.) Given that plaintiffs Eijmberts, Morris, Sanchez, Pietri, Casseres-Pinto and Wang



   6
           Plaintiffs’ conclusory allegation that there was a “significant number of transfers in and out of the People’s
   Bank escrow accounts to effect commingling of partnership funds and transfers to a non-bank” (AC ¶ 108), is
   unsupported, and plaintiffs allege only 9 transactions. (AC ¶ 107.)

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   invested only in those Phases (id. ¶¶ 10-17), those plaintiffs do not have standing to assert any

   claim against People’s, and all of their claims must be dismissed with prejudice.

            2        Most of Plaintiffs’ Claims Are Time Barred

            Vermont law7 provides that absent a specific statute setting a different time period, all

   civil actions must be filed “within six years after the cause of action accrues.” (12 V.S.A. §

   511.) Here, plaintiffs named PUFI and PUB as defendants on August 9, 2016, and thus any

   claims that accrued prior to August 10, 2010 are time barred. With respect to Phase II, the latest

   transfer of its funds about which plaintiffs complain was on September 2, 2008 (AC ¶ 107),

   nearly eight years ago and well beyond the expiration of the six-year statute. Accordingly, given

   that plaintiffs admit that Calderwood and Shaw only invested in Phase II, all of their claims

   against PUFI and PUB are time barred and must be dismissed with prejudice.

            Plaintiffs’ conclusory allegations that “Defendants concealed Quiros’s wrongdoing, and

   Stenger’s assistance therein,” and thus plaintiffs supposedly “could not have reasonably

   discovered the facts constituting Defendants’ violations until April 14, 2016” (AC ¶ ¶ 224-226),

   are wholly insufficient to properly plead a tolling of the statutes of limitations. A plaintiff

   relying on equitable tolling must plead that the particular defendant “actively misled or

   prevented the plaintiff in some extraordinary way from discovering the facts essential to the




   7
             Florida courts consider the statute of limitations to be substantive rather than procedural, including as to
   any claim of tolling. See e.g., Fulton Cnty. Adm'r v. Sullivan, 753 So.2d 549, 553 (Fla. 1999) (“statutes of
   limitations are to be treated as substantive law). In addition to the fact that the escrow agreements expressly provide
   for the application of Vermont law, Florida’s “most significant relationship” test for choice of law (even assuming
   there is any conflict) also requires the application of Vermont law. The alleged conduct occurred in Vermont (e.g.,
   AC ¶¶ 7, 20, 50, 88, 106), involving transfers of money at the direction of Vermont resident Stenger (id. ¶ 22),
   relating to Vermont limited partnerships (id. ¶¶ 24-43), which had their principal places of business in Vermont
   (id.), and were in the business of developing properties located in Vermont (id.). Moreover, the State of Vermont
   has filed suit against other defendants (but not People’s) relating to the same transactions at issue in this case
   (http://www.dfr.vermont.gov/jay-peak-eb-5-lawsuit). None of the plaintiffs are citizens of Florida, and only four of
   the nine are alleged to have resided there. (AC ¶¶ 9-17.) Clearly, these facts confirm that Vermont has the most
   significant relationship with plaintiffs’ claims against People’s.

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   filing of a timely lawsuit.” Kaplan v. Morgan Stanley & Co., 987 A.2d 258, ¶ 11 (Vt. 2009).

   Moreover, any such allegations of fraudulent concealment made to toll applicable statutes of

   limitation must be pled with particularity, as with any fraud claim. Ferencia v. Guiduli, 830

   A.2d 55, ¶ 14 (Vt. 2003); see also Fla. Stat. § 95.031(d) (“Any claim of concealment under this

   section shall be made with specificity and must be based upon substantial factual and legal

   support”). Here, plaintiffs have completely failed to allege any specific facts or details relating

   to People’s, much less the “who, what, where and when” required to support any such tolling

   defense.

            3.       The Only Timely Allegation Is Insufficient To Confer Subject Matter Jurisdiction

            The only alleged transfer within the limitations period is an alleged transfer of $49,000

   on October 3, 2011 from Phase III, as to which only plaintiff Daccache is an alleged investor.

   (AC ¶¶ 9, 107.)8 Of course, even assuming arguendo that PUB had somehow “improperly”

   transferred those funds (which as established above, it did not), any such de minimis damage

   claim against People’s is wholly insufficient to meet the Court’s amount in controversy

   requirement to exercise diversity jurisdiction. 28 U.S.C. § 1332(a) (court may hear diversity

   suits only where "the matter in controversy exceeds the sum or value of $75,000").

   III.     PLAINTIFFS FAIL TO PLAUSIBLY
            PLEAD CLAIMS AGAINST PUFI AND PUB

            While there is no personal jurisdiction over People’s, and the claims are barred by the

   statute of limitations and a lack of standing, the Court should dismiss plaintiffs’ claims for the

   additional reason that plaintiffs fail to plausibly plead any cognizable cause of action.




   8
             Plaintiffs also complain of a transfer of Phase I funds on February 23, 2012, but none of the plaintiffs invested
   in that phase (AC ¶¶ 9-17), and thus they do not have standing to assert any claim based upon that alleged transfer.
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          A.      Plaintiffs Fail To Allege That PUFI Did Anything Actionable

          Plaintiffs make no substantive allegation against PUFI. Rather, plaintiffs simply name

   PUFI and falsely identify it as the “successor in interest” to CTC – even though that allegation is

   directly rebutted by plaintiffs’ other allegations, and there is no dispute that PUB is the successor

   in interest to CTC. In fact, given that no plaintiff executed an escrow agreement until July 2008,

   at which time CTC was a wholly-owned, direct subsidiary of PUB, which subsequently was

   merged into PUB, PUFI’s acquisition of CTC’s parent corporation, Chittenden Corporation,

   seven months earlier is irrelevant. (Supra at 3, n.2.)

          Plaintiffs’ efforts to state claims against PUFI by simply lumping it in with its subsidiary

   PUB via “group pleading” is wholly inadequate. See, e.g., Razi v. Razavi, 2012 U.S. Dist.

   LEXIS 187072, at *15 (M.D. Fla. Dec. 13, 2012) (“The Eleventh Circuit has held that a

   complaint does not meet Rule 9(b)’s particularity standard where it is ‘devoid of specific

   allegations with respect to each defendant’ and instead, merely ‘lump[s] together all of the

   defendants in their allegations of fraud’”) (quoting Ambrosia Coal & Constr. Co. v. Pages

   Morales, 482 F.3d 1309, 1317 (11th Cir. 2007). Accordingly, all of plaintiffs’ claims against

   PUFI should be dismissed for failure to state a claim.

          B.      Plaintiffs’ Tort Claims Are Barred By The Economic Loss Rule

          Plaintiffs’ tort claims against People’s are simply a reclassification of their contract

   claim, and constitute an impermissible attempt to recover alleged economic losses in tort. For

   example, plaintiffs’ negligence claim is based on their allegation that: (a) plaintiffs “entered into

   an Escrow Agreement with People’s;” (b) as a result, People’s “had a duty to exercise reasonable

   skill and ordinary diligence in disbursing the investor funds entrusted to it;” (c) People’s

   breached that alleged duty “[b]y releasing escrow funds to improper accounts,” (d) thereby

   causing “damages.” (AC ¶¶ 192-94.) However, under Vermont’s economic loss rule, these
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   purely financial losses, without any accompanying personal injury or property damage, are not

   compensable in tort. Hamill v. Pawtucket Mutual Ins. Co., 892 A.2d 226, ¶ 9 (Vt. 2005) (“such

   damages are most accurately categorized as purely economic losses generally recoverable under

   contract law, but not tort law”); see also Heath v. Palmer, 915 A.2d 1290, ¶ 15 (Vt. 2006)

   (same); Long Trail House Condo. Ass'n v. Engelberth Constr., Inc., 50 A.3d 752, ¶ 10 (Vt. App.

   2012) (“The economic loss rule ‘prohibits recovery in tort for purely economic losses”) (internal

   quotation omitted). Accordingly, all of plaintiffs’ tort claims against People’s should be

   dismissed.

           C.       Plaintiffs Fail To Plausibly Allege Aiding And Abetting

           Plaintiffs also purport to assert claims against People’s for “aiding and abetting” others in

   their supposed fraud (Quiros and Stenger) (Count III) and breach of fiduciary duty (the “General

   Partners”) (Count VI).9 In order to properly state a claim for aiding and abetting a tort, a plaintiff

   must specifically allege, (1) the underlying tort, “(2) knowledge of this violation on the part of

   the aider and abettor; and (3) substantial assistance by the aider and abettor in this primary

   violation.” Montgomery v. Devoid, 915 A.2d 270, ¶ 20 (Vt. 2006) (internal quotation omitted).10

   Vermont also requires allegations (and, ultimately, proof) that an alleged aider and abettor

   personally benefitted from the other’s tort. See Id. at ¶ 22 (“[W]e have held that all who aid in

   the commission of a tort by another, if done for their benefit” may be held liable) (emphasis in

   original) (quoting Dansro v. Scribner, 187 A. 803 (Vt. 1936).) Moreover, because plaintiffs’

   claim is for aiding and abetting fraud, Rule 9(b)’s particularity requirement applies to these. Am.

   United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1064-65 (11th Cir. 2007).


   9
           Plaintiffs have not named as a defendant any of the “General Partners” who supposedly committed the
   breaches of fiduciary duty. (AC ¶¶ 28, 30, 32, 34, 36, 38.)
   10
            It is unclear whether Florida even recognizes a cause of action for aiding and abetting fraud. Lamm v. State
   St. Bank & Trust, 749 F.3d 938, 950, n.9 (11th Cir. 2014).
                                                           15
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              1. Plaintiffs Fail To Plausibly Allege Actual Knowledge

          Plaintiffs have not met their burden of pleading that People’s had “actual knowledge” of

   the misconduct of others, simply by alleging that Stenger and People’s had a business

   relationship, and the repetitive, conclusory allegations that People’s supposedly knew that the

   investors were not aware of the supposed fraud of other defendants. (AC ¶¶ 256.) Neither of

   these allegations allege knowledge by Peoples, or support any inference that People’s itself had

   actual knowledge of any fraud (much less meet the detailed pleading burden imposed by Rule

   9(b)). Similarly, plaintiffs do not offer any factual support for any allegation that People’s had

   “actual knowledge” that the General Partners were breaching fiduciary duties.” (AC ¶ 277.)

          Thus, as in numerous other cases against banks, plaintiffs here have failed to properly

   allege “actual knowledge” to support an aiding and abetting claim, and those claims should be

   dismissed. Lamm v. State St. Bank & Trust, 889 F. Supp. 2d 1321, 1332 (S.D. Fla. 2012)

   (“Conclusory statements that a defendant ‘actually knew’ [are] insufficient to support an aiding

   and abetting claim where the facts in the complaint only suggest that the defendant ‘should have

   known’ that something was amiss”) (citation omitted); In re Palm Beach Fin. Partners, L.P., 488

   B.R. 758, 773 (Bankr. S.D. Fla. 2013) (“actual knowledge” is not adequately pled by identifying

   documents that would have indicated the underlying tort, as that “merely suggest[s] that

   [defendant] should have known of [the] fraud had they been paying closer attention”); Lawrence

   v. Bank of America, 455 F. App’x 904, 907 (11th Cir. 2012) (allegation that bank authorized

   financial transactions that were “atypical” does not adequately allege “actual knowledge” of

   fraudulent activities); Perlman v. Wells Fargo Bank, 559 F. App’x 988, 993-94 (11th Cir. 2014)

   (“Allegations of a financial institution’s negligence in not knowing of the misconduct of the

   primary wrongdoer are insufficient” to allege “actual knowledge”) (citations omitted);

   Nationwide Life Ins. Co. v. George, 2012 U.S. Dist. LEXIS 146454, *16 (S.D. Fla. Oct. 11,
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   2012) (“Conclusory statements that a defendant actually knew is insufficient to support an aiding

   and abetting claim where the facts in the complaint only suggest that the defendant should have

   known something was amiss”) (internal quotations omitted); Freeman v. JP Morgan Chase

   Bank, N.A., 137 F. Supp. 3d 1284, 1296-97 (M.D. Fla. 2015) (“mere allegations of atypical

   transactions … such as the Bank’s customer providing misleading information when opening his

   accounts and a wire-transfer of a large sum of money to a location determined to be ‘high risk’

   … does not raise an inference of actual knowledge under Florida law”); Wiand v. Wells Fargo

   Bank, N.A., 938 F. Supp. 2d 1238 (M.D. Fla. 2013) (“Commingling of funds, even where the

   bank knows that the customer holds the funds in a fiduciary or trust capacity, is not necessarily

   prohibited and is insufficient to allege knowledge of an underlying fraud”) (citations omitted).

          2.      Plaintiffs Fail To Plausibly Allege “Substantial Assistance”

          Plaintiffs also fail to plausibly allege “substantial assistance” by People’s to support any

   aiding and abetting claim. Rather, plaintiffs resort to hyperbole to try to allege with respect to

   the fraud claim only that People’s supposedly “lent an air of legitimacy” to the fraud, released

   monies as per the terms of the escrow agreement, and did not alert investors to Quiros’ alleged

   fraud. (AC ¶ 257.) With respect to the alleged breach of fiduciary duty claim, plaintiffs

   conclusorily allege – without a single supporting fact – that People’s supposedly “substantially

   assisted” the alleged breaches of fiduciary duties. (Id. ¶ 277.) The complete absence of any, let

   alone plausible, factual allegations warrants the dismissal of plaintiffs’ claims.

          In any event, a party does not “aid and abet” a fraud or breach of fiduciary duty about

   which they are unaware simply by having any involvement in a transaction, under the theory that

   it lent “an air of legitimacy” to someone else’s fraud. See Hill v. HSBC Bank PLC, 2016 LEXIS

   125921 (S.D.N.Y., Sept. 15, 2016) (dismissing claims notwithstanding allegation that bank lent

   an “appearance of legitimacy” that furthered the fraud); In re Consolidated Welfare Fund ERISA
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   Litigation, 856 F. Supp. 837 (S.D.N.Y. 1994) (same). Similarly, complying with contractual

   obligations cannot support an aiding and abetting claim, nor can an allegation of “failure to alert”

   someone where People’s did not have such knowledge itself of the supposed fraud. Freeman,

   137 F. Supp. 3d at 1298-99 (substantial assistance not met by allowing wrongdoer to “create

   accounts, transfer funds among accounts, and make withdrawals from accounts”).

          More importantly, under Vermont law, “[c]losely intertwined with the concept of

   ‘substantial assistance’ is the principle of proximate cause,” and aider and abettor liability will

   not lie against a defendant who did not “provide a necessary causal link for their assistance to

   qualify as substantial.” Montgomery, 2006 VT at ¶ 21; see also Lussier v. Bessette, 2010 VT

   104, ¶ 11 (Vt. 2010) (the “law of proximate cause calls for a causal connection between the act

   for which the defendant is claimed to be responsible and which is alleged to be negligent and the

   resulting flow of injurious consequences”).

          Here, there is no allegation, nor could there be, that the alleged fraud and breach of

   fiduciary duty by Quiros, Stenger or anyone else would not have occurred “but for” People’s

   alleged conduct. Fundamental to plaintiffs’ claims are their allegations that Quiros “improperly”

   obtained control over the funds of plaintiffs and/or the limited partnerships. (See, e.g., AC ¶¶ 1,

   2.) However, plaintiffs admit that it was Stenger, as the principal of the general partners, who

   “ceded control of the funds” to Quiros. (AC ¶ 59.) Thus, if PUB had not transferred the

   escrowed funds to a Raymond James account, but rather had transferred those funds to a

   different account, e.g., a different bank account in the name of the limited partnership, Stenger

   could have simply “ceded control of the funds” from that account. Accordingly, at most,

   plaintiffs allege that PUB’s supposed conduct took “one step” out of the process of Stenger

   allowing Quiros to control the funds, not that People’s conduct was a “but for” cause of the

   alleged fraud and breach of fiduciary duty.
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                 3. Plaintiffs Fail To Plausibly Allege Personal Benefit

            Despite the length of plaintiffs’ complaint and attempted expansion of the case in the

   amended pleading, it is noticeably devoid of any allegation as to what People’s supposedly

   obtained from “aiding and abetting” others in their supposed commission of torts. PUB received

   a fixed fee as escrow agent, and there is no allegation (nor could there be consistent with Rule

   11), that People’s received additional monies or benefit for transferring the funds in the manner

   in which PUB did. As a result, for this reason as well, plaintiffs aiding and abetting cause of

   action against People’s must be dismissed. Montgomery, 2006 VT 127, ¶ 22; accord Cordova,

   526 F. Supp. 2d, 1305, 1315 (S.D. Fl. 2007) (dismissing claims where, among other things,

   “Plaintiffs do not clearly allege ‘what Defendants obtained as a consequence of the fraud’”

   (quoting Ziemba v. Cascade Intern., Inc., 256 F. 3d 1194, 1202 (11th Cir. 2001) (emphasis in

   original)).

            D.       Plaintiffs Fail To Plausibly Allege A Civil Conspiracy

            As shown above (supra at 6-7), plaintiffs’ generic and conclusory allegations that

   People’s engaged in some “conspiracy” is directly contradicted by their other allegations in the

   Amended Complaint (e.g., AC ¶¶ 52-56), and thus are not entitled to any assumption of validity.

            Moreover, plaintiffs’ conspiracy claim is devoid of any allegation as to who from

   People’s supposedly reached an agreement with Quiros as alleged – or even that anyone from

   People’s had ever even met Quiros as of the first half of 2008 (or at any time thereafter).

   Plaintiffs also have not alleged a date, time, place or any details of any supposed meeting

   between Quiros and People’s in the first half of 2008, or the terms of any such “agreement.”

   Accordingly, plaintiffs’ conspiracy claim against People’s should be dismissed.11 Bell Atl. Co. v.


   11
            Similarly, while plaintiffs again allege in conclusory fashion only that each of the defendants “retained the
   benefits of said wrongful acts” (AC ¶ 282), their Amended Complaint is devoid of any supporting or specific
   allegation that People’s ever obtained any benefit from the alleged wrongful acts.
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   Twombly, 550 U.S 544, 565, n. 10 (2007) (defendant “would have little idea where to begin” in

   responding to conspiracy claim where pleadings “mentioned no specific time, place, or person

   involved in the alleged conspiracies”); Fullman v. Griddick, 739 F.2d 553, 557 (11th Cir. 1984)

   (“A complaint may justifiably be dismissed because of the conclusory, vague and general nature

   of the allegations of conspiracy”); Cordova, 526 F. Supp. 2d at 1312 (“The particularity rule

   serves an important purpose in fraud actions by alerting defendants to the ‘precise misconduct

   with which they are charged’ and protecting defendants ‘against spurious charges of immoral

   and fraudulent behavior’”); Ziemba, 256 F.3d at 1202 (“Rule 9(b) is satisfied if the complaint

   sets forth (1 ) precisely what statements were made … and (2) the time and place of each such

   statement and the person responsible for making (or, in the case of omissions, not making)

   same”) (citing Durham v. Bus. Management Assocs., 847 F.2d 1505, 1511 (11th Cir. 1988));

   Albra v. City of Fort Lauderdale, 232 F. App’x 885, 890-91 (11th Cir. 2007) (“To allege a

   conspiracy, a plaintiff must make ‘particularized allegations’ that are more than vague or

   conclusory”).

                                               CONCLUSION

          Neither PUFI nor PUB is subject to the personal jurisdiction of this Court, the claims are

   time barred, the plaintiffs do not have standing, and plaintiffs have failed to sufficiently allege

   facts sufficient to plausibly state any claim against PUFI or PUB. Accordingly, PUFI and PUB

   respectfully that the Court dismiss all claims against them (Counts III, VI, VII, IX, X and XI)

   with prejudice.




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   Dated: September 30, 2016                 Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with
   the Clerk of the Court and furnished via CM/ECF to all participating recipients or in the manner
   stated in the service list attached, on this 30th day of September, 2016.


                                                       By:/s/ Jonathan E. Minsker
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